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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION



              UNITED STATES OF AMERICA,

                           V.                           :          CASE NO.: CR209-49

              BENNIE SAMS, JR.
              ERICA L. JACKSON
              JOY L. WASHINGTON


                                                   ORDER

                    After an independent review of the record, the Court concurs with the Magistrate
              Judge's Report and Recommendation, to which no objections have been filed.
              Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the
              opinion of the Court.
                     The Motion to Suppress filed by Defendp\Joy L. Washyigton is DENIED.
                     SO ORDERED, this Z- day of             6A -^J      /,          2010.




                                                              6A GODBEY WOOD, CHIEF JUDGE
                                                             UNITED STATES DISTRICT COURT
                                                             SOUTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
